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             EXHIBIT B
          Case 1:21-cv-02000-AT Document 1-2 Filed 05/11/21 Page 2 of 3




                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

 BRITTANY BEAVERS,

                Plaintiff,                               CIVIL ACTION FILE
 v.                                                      NO. 2021CV348070

 THE CHEESECAKE FACTORY
 RESTAURANTS, INC.,

                Defendant.



TO:    Clerk of Court
       Fulton County Superior Court
       136 Pryor Street
       Suite C155
       Atlanta GA 30303

       PLEASE TAKE NOTICE that defendant The Cheesecake Factory Restaurants, Inc., by

and through undersigned counsel, on May 11, 2021, filed its Notice of Removal to the United

States District Court for the Northern District of Georgia, Atlanta Division, a copy of which is

attached hereto as Exhibit “A.”

       Respectfully submitted this 11th day of May, 2021.

                                            FREEMAN MATHIS & GARY, LLP

                                            /s/ Wayne S. Melnick
                                            Wayne S. Melnick
                                            Georgia Bar No. 501267
                                            Eric Retter
                                            Georgia Bar No. 351882
                                            Attorneys for Defendant The Cheesecake Factory,
                                            Inc.
100 Galleria Parkway
Suite 1600
Atlanta, Georgia 30339-5948
(770) 818-0000 (telephone)
(770) 937-9960 (facsimile)



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                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this day served the foregoing Notice Of Filing Of Notice Of

Removal with the Clerk of Court using the Odyssey e-filing system, which will automatically send

email notification of such filing to the attorneys of record and by depositing a true and correct copy

of same in the United States Mail, postage prepaid, properly addressed upon:

                                        Rita Tucker Williams
                                             Ledia Regis
                                Williams & Associates Law Firm, P.C.
                                         220 Church Street
                                         Decatur, GA 30030

         This 11th day of May, 2021.


                                               /s/ Wayne S. Melnick
                                               Wayne S. Melnick
                                               Georgia Bar No. 501267
                                               wmelnick@fmglaw.com
                                               Eric Retter
                                               Georgia Bar No. 351882
                                               eretter@fmglaw.com
                                               Attorneys for Defendant The Cheesecake Factory,
                                               Inc.

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